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             1         JOAN JACOBS LEVIE, #179787
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             4
                  Attorney for Defendant, SUZANNE BARNETT
             5
                                                    UNITED STATES DISTRICT COURT
             6

             7                                    EASTERN DISTRICT OF CALIFORNIA

             8                                                       *****
             9                                                        )
                 UNITED STATES OF AMERICA,                            ) CASE NO. CR-F-06-0171 OWW
            10                                                        )
                        Plaintiff,                                    )
            11                                                        ) STIPULATION TO CONTINUE TRIAL
                 vs.                                                  ) CONFIRMATION HEARING; ORDER
            12                                                        )
                 SUZANNE BARNETT, et al.,                             ) SCHED. DATE: June 30, 2008
            13                                                        ) REQST. DATE: July 7, 2008
                                                                      )
            14           Defendant.                                   ) TIME:         9:00 A.M.
                                                                        COURT: The Hon. Oliver W. Wanger
            15   _________________________________________________
                 IT IS HEREBY STIPULATED between the parties, by and through counsel for the government,
            16

            17   Laurel Montoya, and Joan Jacobs Levie, counsel for Defendant SUZANNE BARNETT, that the date

            18   established for the trial confirmation hearing, currently scheduled for June 30, 2008 at 9:00 a.m. in the
            19   courtroom of the Hon. Oliver W. Wanger be continued until July 7, 2008 at 9:00 a.m. in the courtroom
            20
                 of the Hon. Oliver W. Wanger
            21
                         DATED: June 13, 2008
            22

            23
                                                                     Respectfully submitted,

            24                                                       /S/ Joan Jacobs Levie___
                                                                     JOAN JACOBS LEVIE
            25                                                       Attorney for Defendant,
                                                                     SUZANNE BARNETT
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                                                               ORDER
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             2          IT IS HEREBY ORDERED that the date of the trial confirmation proceedings will be

             3   continued in accordance with the above stipulation of counsel. The defendant is ordered to return
             4
                 to court for further proceedings on July 7, 2008 at 9:00 a.m.
             5
                 DATED: June 13, 2008
             6
                                                       By: /s/ OLIVER W. WANGER
             7
                                                               OLIVER W. WANGER
             8                                                 Judge of the United States District Court

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